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                                               #:529



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                                             CASE NUMBER:


 BRANDON JOE WILLIAMS                                          2:24−cv−01631−MWF−PVC
                                             Plaintiff(s),

          v.
 AMERICAN EXPRESS COMPANY, et al.
                                                             ORDER IN RESPONSE TO NOTICE TO FILER
                                           Defendant(s).      OF DEFICIENCIES IN FILED DOCUMENT




 In accordance with the Notice to Filer of Deficiencies in Filed Document
 REGARDING:
                                                                        Proposed Designation of Record
    09/04/2024                      43 and 44                         [43]; Docketeing Statement [44]
  Date Filed                      Document. No.                       Title of Document.
 IT IS HEREBY ORDERED:
      The documents are STRICKEN for the reasons stated in the Notice to Filer of
 Deficiencies in Filed Document (Docket No. 45).




  DATED: September 6, 2024                                    /s/ Michael W. Fitzgerald
                                                             United States District Judge




 G−112B (07/24)   ORDER IN RESPONSE TO NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENT
